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 1   LAQUER, URBAN, CLIFFORD & HODGE LLP
     Marija Kristich Decker, State Bar No. 207387
 2    Email: Decker@luch.com
     200 South Los Robles Avenue, Suite 500
 3   Pasadena, California 91101-2432
     Telephone: (626) 449-1882
 4   Facsimile: (626) 449-1958
 5
     Counsel for Plaintiffs, Trustees of the Operating Engineers Pension Trust, et al.
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 8                                 UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10

11   TRUSTEES OF THE OPERATING                          CASE NO.: 5:21-cv-00492-JWH-SHKx
     ENGINEERS PENSION TRUST,
12   TRUSTEES OF THE OPERATING                          ASSIGNED TO THE HONORABLE
13   ENGINEERS HEALTH AND WELFARE                       JOHN W. HOLCOMB
     FUND, TRUSTEES OF THE
14   OPERATING ENGINEERS VACATION-
     HOLIDAY SAVINGS TRUST,                             FULL SATISFACTION OF
15   TRUSTEES OF THE OPERATING                          JUDGMENT
16
     ENGINEERS TRAINING TRUST,
     TRUSTEES OF THE OPERATING
17   ENGINEERS LOCAL 12 DEFINED
     CONTRIBUTION TRUST, ENGINEERS
18   CONTRACT COMPLIANCE
     COMMITTEE FUND, and SOUTHERN
19   CALIFORNIA PARTNERSHIP FOR
20   JOBS FUND,

21                   Plaintiffs,
22             vs.
23
     TRISTAN GENERAL ENGINEERING
24   CORPORATION, a California
     corporation,
25
                     Defendant.
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                                      FULL SATISFACTION OF JUDGMENT
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 1             Judgment Creditors, Trustees of the Operating Engineers Pension Trust, Trustees
 2   of the Operating Engineers Health and Welfare Fund, Trustees of the Operating
 3   Engineers Vacation-Holiday Savings Trust, Trustees of the Operating Engineers
 4   Training Trust, Trustees of the Operating Engineers Local 12 Defined Contribution
 5   Trust, Engineers Contract Compliance Committee Fund, and Southern California
 6   Partnership for Jobs Fund, hereby acknowledge full satisfaction of the Judgment entered
 7   in the above-entitled action on June 23, 2021, in favor of the Judgment Creditors, whose
 8   address is 100 Corson Street, Pasadena, CA 91103, and against Judgment Debtor, Tristan
 9   General Engineering Corporation, a California corporation, whose last known address is
10   30724 Benton Road, Suite C-302 #589, Winchester, CA 92596. Said Judgment has been
11   paid to the satisfaction of the Judgment Creditors. The Clerk of the above-entitled Court
12   is hereby authorized and requested to enter full satisfaction of said Judgment.
13

14   DATED: February 25, 2022          LAQUER, URBAN, CLIFFORD & HODGE LLP
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                                       By: /s/ Marija Kristich Decker
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                                           Marija Kristich Decker, Counsel for
17                                         Plaintiffs, Trustees of the Operating
                                           Engineers Pension Trust, et al.
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                                    FULL SATISFACTION OF JUDGMENT
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 1                                     PROOF OF SERVICE
 2                   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3         I am employed in the County of Los Angeles, State of California. I am over the
     age of 18, and not a party to the within action. My business address is: 200 South
 4   Los Robles, Suite 500, Pasadena, California 91101-2432.
 5             On February 25, 2022, I served the foregoing document(s) described below:
 6
                             FULL SATISFACTION OF JUDGMENT
 7
           on the interested parties in this action by placing a true copy thereof in a sealed
 8   envelope(s) addressed to:
 9   Tristan General Engineering Corporation       Defendant
     30724 Benton Road, Suite C-302 #589
10   Winchester, CA 92596
11   XXX (BY MAIL) I caused said envelope(s) with first class postage prepaid to be
     placed in the United States mail at Pasadena, California.
12
     ____ (BY PERSONAL SERVICE) I caused said envelope(s) to be delivered by hand
13   to the office or the residence of the addressee as shown above.
14   ____ (BY FACSIMILE TRANSMISSION) I caused a true and complete copy of the
15   document described above to be transmitted by facsimile transmission to the telephone
     number(s) set forth opposite the name(s) of the person(s) set forth above.
16
     ____ (BY OVERNIGHT DELIVERY) I caused said envelope(s) with prepaid delivery
17   charges to be placed in the UPS Box at Pasadena, California.
18             Executed on February 25, 2022, at Pasadena, California.
19   ____ (STATE) I declare under penalty of perjury under the laws of the State of
     California that the foregoing is true and correct.
20
     XXX (FEDERAL) I declare that I am employed by a member of the Bar of this Court,
21   and that this service was made under the supervision of said attorney.
22
23
                                                    /s/ Cheryl Roberts
                                                    Cheryl Roberts
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                                          PROOF OF SERVICE
     1612858
